Case 18-21422   Doc# 1   Filed 07/12/18   Page 1 of 97
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   'HVFULEHdebtor’sEXVLQHVV
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                                             6LQJOH$VVHW5HDO(VWDWHDVGHILQHGLQ86&%
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                                             ,QYHVWPHQWDGYLVRUDVGHILQHGLQ86&ED
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                                             &1$,&61RUWK$PHULFDQ,QGXVWU\&ODVVLILFDWLRQ6\VWHPGLJLWFRGHWKDWEHVWGHVFULEHVGHEWRU6HH
                                                 KWWSZZZXVFRXUWVJRYIRXUGLJLWQDWLRQDODVVRFLDWLRQQDLFVFRGHV
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      GHEWRUILOLQJ"                        &KDSWHU
                                             &KDSWHU
                                             
                                              &KDSWHUCheck all that apply
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                     LQVLGHUVRUDIILOLDWHVDUHOHVVWKDQDPRXQWVXEMHFWWRDGMXVWPHQWRQ
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                                                                    7KHGHEWRULVDVPDOOEXVLQHVVGHEWRUDVGHILQHGLQ86&',IWKH
                                                                     GHEWRULVDVPDOOEXVLQHVVGHEWRUDWWDFKWKHPRVWUHFHQWEDODQFHVKHHWVWDWHPHQW
                                                                     RIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULIDOORIWKHVH
                                                                     GRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ86&%

                                                                 $SODQLVEHLQJILOHGZLWKWKLVSHWLWLRQ
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                                                                 7KHGHEWRULVUHTXLUHGWRILOHSHULRGLFUHSRUWVIRUH[DPSOH.DQG4ZLWKWKH
                                                                     6HFXULWLHVDQG([FKDQJH&RPPLVVLRQDFFRUGLQJWRRUGRIWKH6HFXULWLHV
                                                                     ([FKDQJH$FWRI)LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                                     for Bankruptcy under Chapter 112IILFLDO)RUP$ZLWKWKLVIRUP

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                                             &KDSWHU
   :HUHSULRUEDQNUXSWF\FDVHV           
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      ZLWKLQWKHODVW\HDUV"              <HV 'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
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      VHSDUDWHOLVW                                   'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
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Part 5:     Inventory, excluding agriculture assets

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     1R *RWR3DUW
    
     <HV)LOOLQWKHLQIRUPDWLRQEHORZ

      *HQHUDOGHVFULSWLRQ                           'DWHRIWKHODVW     1HWERRNYDOXHRI     9DOXDWLRQPHWKRG XVHG         &XUUHQWYDOXH RI
                                                    SK\VLFDOLQYHQWRU\    GHEWRU
VLQWHUHVW     IRUFXUUHQWYDOXH              debtor’s interest
                                                                          :KHUHDYDLODEOH
 5DZPDWHULDOV
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          <HV
 +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQSXUFKDVHGZLWKLQGD\VEHIRUHWKHEDQNUXSWF\ZDVILOHG"

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          <HV %RRNYDOXHBBBBBBBBBBBBBBB9DOXDWLRQPHWKRGBBBBBBBBBBBBBBBBBBBB&XUUHQWYDOXHBBBBBBBBBBBBBB
 +DVDQ\RIWKHSURSHUW\ OLVWHGLQ3DUW EHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
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          <HV

Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)

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     1R *RWR3DUW
     <HV)LOOLQWKHLQIRUPDWLRQEHORZ
      *HQHUDOGHVFULSWLRQ                                                   1HWERRNYDOXHRI   9DOXDWLRQPHWKRG XVHG        &XUUHQWYDOXH of debtor’s
                                                                            GHEWRU
VLQWHUHVW   IRUFXUUHQWYDOXH             LQWHUHVW
                                                                            :KHUHDYDLODEOH
 &URSV—HLWKHU SODQWHG RUKDUYHVWHG
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 )DUP DQGILVKLQJVXSSOLHVFKHPLFDOVDQGIHHG

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 2WKHU IDUPLQJ DQGILVKLQJUHODWHGSURSHUW\QRWDOUHDG\OLVWHGLQ3DUW

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 ,VWKHGHEWRUDPHPEHURIDQ DJULFXOWXUDOFRRSHUDWLYH"

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     <HV. Is any of the debtor’s property stored at the cooperative?
       1R
       <HV
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     1R
     <HV%RRNYDOXHBBBBBBBBBBBBBBB 9DOXDWLRQPHWKRG BBBBBBBBBBBBBBBBBBBB&XUUHQWYDOXHBBBBBBBBBBBBBBBB
 ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOH IRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"

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     <HV
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     <HV

Part 7:    Office furniture, fixtures, and equipment; and collectibles

 'RHVWKHGHEWRURZQRUOHDVHDQ\RIILFHIXUQLWXUHIL[WXUHVHTXLSPHQWRUFROOHFWLEOHV"

     1R *RWR3DUW
    
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   *HQHUDOGHVFULSWLRQ                                                        1HWERRNYDOXHRI    9DOXDWLRQPHWKRG             &XUUHQWYDOXH of debtor’s
                                                                              GHEWRU
VLQWHUHVW    XVHGIRUFXUUHQWYDOXH       LQWHUHVW
                                                                              :KHUHDYDLODEOH

 2IILFHIXUQLWXUH
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    FRPPXQLFDWLRQV\VWHPVHTXLSPHQWDQGVRIWZDUH
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    DUWZRUNERRNVSLFWXUHVRURWKHUDUWREMHFWVFKLQDDQGFU\VWDOVWDPS FRLQ
    RUEDVHEDOOFDUGFROOHFWLRQVRWKHUFROOHFWLRQVPHPRUDELOLDRU FROOHFWLEOHV
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Part 8: Machinery, equipment, and vehicles

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    *HQHUDOGHVFULSWLRQ                                                      1HWERRNYDOXHRI     9DOXDWLRQPHWKRG XVHG        &XUUHQWYDOXH RI
                                                                             GHEWRU
VLQWHUHVW     IRUFXUUHQWYDOXH             debtor’s interest
    ,QFOXGH\HDUPDNHPRGHODQGLGHQWLILFDWLRQQXPEHUVLH9,1
                                                                             :KHUHDYDLODEOH
    +,1RU1QXPEHU


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Part 11: All other assets

 'RHVWKHGHEWRURZQDQ\RWKHUDVVHWVWKDWKDYHQRW\HWEHHQUHSRUWHGRQWKLVIRUP"
    ,QFOXGHDOOLQWHUHVWVLQH[HFXWRU\FRQWUDFWV DQGXQH[SLUHGOHDVHVQRWSUHYLRXVO\UHSRUWHGRQWKLVIRUP
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                                                                                                                                      debtor’s interest
 1RWHVUHFHLYDEOH
    'HVFULSWLRQLQFOXGHQDPHRIREOLJRU

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 7D[UHIXQGVDQGXQXVHGQHWRSHUDWLQJORVVHV12/V

    'HVFULSWLRQ IRUH[DPSOHIHGHUDOVWDWHORFDO
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Part 2:       List Others to Be Notified for a Debt Already Listed in Part 1

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Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

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Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


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  Part 3:          Legal Actions or Assignments

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 Part 4:           Certain Gifts and Charitable Contributions

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 Part 5:           Certain Losses

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 Part 6:       Certain Payments or Transfers

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     /LVWDQ\SD\PHQWVRIPRQH\RURWKHUWUDQVIHUVRISURSHUW\PDGHE\WKHGHEWRURUSHUVRQDFWLQJRQEHKDOIRIWKHGHEWRUZLWKLQ\HDUEHIRUH
     WKHILOLQJRIWKLVFDVHWRDQRWKHUSHUVRQ RUHQWLW\LQFOXGLQJDWWRUQH\VWKDW WKHGHEWRUFRQVXOWHGDERXWGHEWFRQVROLGDWLRQRUUHVWUXFWXULQJ
     VHHNLQJEDQNUXSWF\UHOLHIRUILOLQJDEDQNUXSWF\FDVH

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            :KRZDVSDLG RUZKRUHFHLYHGWKHWUDQVIHU"        ,IQRWPRQH\GHVFULEHDQ\SURSHUW\WUDQVIHUUHG             'DWHV             7RWDODPRXQWRU
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  6HOIVHWWOHGWUXVWVRIZKLFKWKHGHEWRULVDEHQHILFLDU\

     /LVWDQ\SD\PHQWVRUWUDQVIHUVRISURSHUW\PDGHE\WKHGHEWRURUDSHUVRQDFWLQJRQEHKDOIRIWKHGHEWRUZLWKLQ\HDUVEHIRUHWKHILOLQJRIWKLVFDVHWR
     DVHOIVHWWOHGWUXVWRUVLPLODUGHYLFH
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                                   Case 18-21422              Doc# 1       Filed 07/12/18               Page 52 of 97
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     ZLWKLQ\HDUVEHIRUHWKHILOLQJRIWKLVFDVHWRDQRWKHUSHUVRQRWKHUWKDQSURSHUW\WUDQVIHUUHGLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRUILQDQFLDODIIDLUV
     ,QFOXGHERWKRXWULJKWWUDQVIHUVDQGWUDQVIHUVPDGHDVVHFXULW\ 'RQRWLQFOXGHJLIWVRUWUDQVIHUVSUHYLRXVO\OLVWHGRQWKLVVWDWHPHQW


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 Part 7:       Previous Locations

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     /LVWDOOSUHYLRXVDGGUHVVHVXVHGE\WKHGHEWRUZLWKLQ\HDUVEHIRUHILOLQJWKLVFDVHDQGWKHGDWHVWKHDGGUHVVHVZHUHXVHG

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          'RHVQRWDSSO\
            $GGUHVV                                                                                               'DWHVRIRFFXSDQF\


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                                     Case 18-21422              Doc# 1         Filed 07/12/18             Page 53 of 97
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 Part 8:           Healthcare Bankruptcies

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     ,VWKHGHEWRUSULPDULO\HQJDJHGLQRIIHULQJVHUYLFHVDQGIDFLOLWLHVIRU
      GLDJQRVLQJRUWUHDWLQJLQMXU\GHIRUPLW\RUGLVHDVHRU
      SURYLGLQJDQ\VXUJLFDOSV\FKLDWULFGUXJWUHDWPHQWRUREVWHWULFFDUH"

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          <HV)LOOLQWKHLQIRUPDWLRQEHORZ
            )DFLOLW\QDPHDQGDGGUHVV                           1DWXUHRIWKHEXVLQHVVRSHUDWLRQLQFOXGLQJW\SHRIVHUYLFHVWKH            ,IGHEWRUSURYLGHVPHDOV
                                                                GHEWRUSURYLGHV                                                              DQGKRXVLQJQXPEHURI
                                                                                                                                             patients in debtor’s FDUH

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            )DFLOLW\QDPHDQGDGGUHVV                           1DWXUHRIWKHEXVLQHVVRSHUDWLRQLQFOXGLQJW\SHRIVHUYLFHVWKH            ,IGHEWRUSURYLGHVPHDOV
                                                                GHEWRUSURYLGHV                                                              DQGKRXVLQJQXPEHURI
                                                                                                                                             patients in debtor’s care

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 Part 9:           Personally Identifiable Information

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          <HV6WDWHWKHQDWXUHRIWKHLQIRUPDWLRQFROOHFWHGDQGUHWDLQHGBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                   'RHVWKHGHEWRUKDYHDSULYDF\SROLF\DERXWWKDWLQIRUPDWLRQ"
                      1R
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  :LWKLQ\HDUVEHIRUHILOLQJWKLVFDVH KDYHDQ\HPSOR\HHVRIWKHGHEWRUEHHQSDUWLFLSDQWVLQDQ\(5,6$NERURWKHU
     SHQVLRQRUSURILWVKDULQJSODQPDGHDYDLODEOHE\WKHGHEWRUDVDQHPSOR\HHEHQHILW"

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          1R*RWR3DUW
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                                         Case 18-21422          Doc# 1          Filed 07/12/18               Page 54 of 97
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 Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

  3URSHUW\KHOGIRUDQRWKHU
     /LVWDQ\SURSHUW\WKDWWKHGHEWRUKROGVRUFRQWUROVWKDWDQRWKHUHQWLW\RZQV,QFOXGHDQ\SURSHUW\ERUURZHGIURPEHLQJVWRUHGIRURUKHOGLQ
     WUXVW'RQRWOLVWOHDVHGRUUHQWHGSURSHUW\

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            Owner’s name DQGDGGUHVV                             /RFDWLRQRIWKHSURSHUW\                  'HVFULSWLRQRIWKHSURSHUW\                  9DOXH

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 Part 12:          Details About Environmental Information

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  Environmental law PHDQVDQ\VWDWXWHRUJRYHUQPHQWDOUHJXODWLRQWKDWFRQFHUQVSROOXWLRQFRQWDPLQDWLRQRUKD]DUGRXVPDWHULDO
     UHJDUGOHVVRIWKHPHGLXPDIIHFWHGDLUODQGZDWHURUDQ\RWKHUPHGLXP
  Site PHDQVDQ\ORFDWLRQIDFLOLW\RUSURSHUW\LQFOXGLQJGLVSRVDOVLWHV WKDW WKHGHEWRUQRZRZQVRSHUDWHVRUXWLOL]HVRUWKDW WKHGHEWRU
     IRUPHUO\RZQHGRSHUDWHGRUXWLOL]HG
  Hazardous material PHDQVDQ\WKLQJWKDWDQHQYLURQPHQWDOODZGHILQHVDVKD]DUGRXVRUWR[LFRUGHVFULEHVDVDSROOXWDQWFRQWDPLQDQW
     RUDVLPLODUO\KDUPIXOVXEVWDQFH

 5HSRUWDOOQRWLFHVUHOHDVHVDQGSURFHHGLQJVNQRZQUHJDUGOHVVRIZKHQWKH\RFFXUUHG


  +DVWKHGHEWRUEHHQDSDUW\LQDQ\MXGLFLDORUDGPLQLVWUDWLYHSURFHHGLQJXQGHUDQ\HQYLURQPHQWDOODZ",QFOXGHVHWWOHPHQWVDQGRUGHUV


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            &DVHWLWOH                                    &RXUWRUDJHQF\QDPH DQGDGGUHVV                 1DWXUHRIWKHFDVH                       6WDWXVRIFDVH

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     HQYLURQPHQWDOODZ"

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    Part 13:            Details About the Debtor’s Business or Connections to Any Business


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     DList      all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

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     E    List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a finDQFLDO
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     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is fileG
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 Part 14:            Signature and Declaration


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B26 (Official Form 26) (12/08)



                                 United States Bankruptcy Court
                                          DISTRICT OF KANSAS
                                            TOPEKA DIVISION

In re MFL Inc,                                            Case No.
                    Debtor
                                                          Chapter 11

    $PERIODIC REPORT REGARDING VALUE, OPERATIONS AND PROFITABILITY OF
                  ENTITIES IN WHICH THE ESTATE OF MFL INC
               HOLDS A SUBSTANTIAL OR CONTROLLING INTEREST

        This is the report as of on the value, operations and profitability of those entities in which the estate
holds a substantial or controlling interest, as required by Bankruptcy Rule 2015.3. The estate of MFL Inc
holds a substantial or controlling interest in the following entities:

Name of Entity                        Interest of the Estate                 Tab #
None

        This periodic report (the “Periodic Report”) contains separate reports (“Entity Reports”) on the
value, operations, and profitability of each entity listed above.

        Each Entity Report shall consist of three exhibits. Exhibit A contains a valuation estimate for the
entity as of a date not more than two years prior to the date of this report. It also contains a description of
the valuation method used. Exhibit B contains a balance sheet, a statement of income (loss), a statement of
cash flows, and a statement of changes in shareholders’ or partners’ equity (deficit) for the period covered
by the Entity Report, along with summarized footnotes. Exhibit C contains a description of the entity’s
business operations.


 THIS REPORT MUST BE SIGNED BY A REPRESENTATIVE OF THE TRUSTEE OR DEBTOR IN
                                 POSSESSION.

        The undersigned, having reviewed the above listing of entities in which the estate of MFL Inc holds
a substantial or controlling interest, and being familiar with the Debtor’s financial affairs, verifies under the
penalty of perjury that the listing is complete, accurate and truthful to the best of his knowledge.

Date: July 9, 2018                                    0)/,1&

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                                                      Signature of Authorized Individual
                                                      Christopher D Farmer
                                                      President




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Case 18-21422   Doc# 1   Filed 07/12/18   Page 88 of 97
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                            UNITED STATES BANKRUPTCY COURT
                                      District of Kansas
                                      Topeka Division

In re:
                                                    Case No. BKY
MFL Inc,

Debtor(s)                                           Chapter 11 Case


         STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION


        I, Christopher D. Farmer, declare under penalty of perjury that I am the President of MFL
Inc, a Kansas corporation and that on the following resolution was duly adopted by the of this
                                      
corporation:                               
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       \Whereas, it is in the best interest of this corporation to file a voluntary petition in the
United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Christopher D. Farmer, President of this corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a
chapter 11 voluntary bankruptcy case on behalf of the corporation; and

        Be It Further Resolved, that Christopher D. Farmer, President of this corporation, is
authorized and directed to appear in all bankruptcy proceedings on behalf of the corporation, and
to otherwise do and perform all acts and deeds and to execute and deliver all necessary
documents on behalf of the corporation in connection with such bankruptcy case; and

        Be It Further Resolved, that Christopher D. Farmer, President of this corporation, is
authorized and directed to employ Justice B King, attorney and the law firm of Fisher, Patterson,
Sayler & Smith, LLP to represent the corporation in such bankruptcy case.\


Executed on: July, 2018                           Signed: s/Christopher D. Farmer
                                                    Christopher D. Farmer 7215 SW Topeka Blvd
                                                    Bldg 5A, Topeka, KS 66619 (Name and
                                                    Address of Subscriber)




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                                     “Debtor”) and pursuant to Fed. R. Bankr. P. 1007(a)
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                                    UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF KANSAS

 In Re:
              MFL Inc,
                                           Debtor
                                                                           Case No.


                               LIST OF EQUITY SECURITY HOLDERS
       Following is the list of the Debtor’s equity security holders which is prepared in accordance with
Rule 1007, Fed. R. Bank. P. for filing in this Chapter 11 case.

    Security Holder’s Registered Name                                Number of
                                                    Class of
   and Last Known Address or Place of                               Securities or        Kind of Interest
                                                    Security
                 Business                                            Percentage


 Christopher D Farmer
                                                       Stock      20,000              100% of all Stock
 3810 SW Marion Lane
 Topeka, KS 66610



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION
                       OR PARTNERSHIP

       I, Christopher D Farmer, President of the corporation named as the debtor in this case,
declare under penalty of perjury that I have read the foregoing List of Equity Security Holders
and that it is true and correct to the best of my information and belief.

 Date:        July, 2018                                  Signature: s/Christopher D. Farmer
                                                        Printed Name: Christopher D Farmer
                                                                 Title: President


    Penalty for making a false statement or concealing property: Fine of up to $500,000 or
              imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




List of Equity Security Holders – Page 1
                        Case 18-21422         Doc# 1     Filed 07/12/18     Page 92 of 97
         Ace Funding Source LLC
         640 S San Vicente Blvd
         Los Angeles,CA 90048


         Amazon Capital Services Inc
         P O Box 84837
         Seattle,WA 98124


         American Express Plum Card
         P O Box 650448
         'DOODV7;


         Amy Huffman
         601 W 2nd Street
         Scranton,KS 66537


         Best Buy
         P O Box 790441
         St Louis,MO 63179


         Carpenter Co
         ATTN Mark Willard
         5016 Monument Ave
         Richmond,VA 23230


         Carpenter Co
         ATTN Mark Willard
         5016 Monument Ave
         Richmond,VA 23230


         Celtic Bank
         268 S State St Ste 300
         Salt Lake City,UT 30357




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         CFG Merchant Solutions LLC
         80 Maiden Lane 15th Flr
         New York,NY 10038


         Chase Amazon
         P O Box 15123
         Wilmington,DE 19850


         Chase Ink
         P O Box 15123
         Wilmington,DE 19850


         Chase Slate
         P O Box 15123
         Wilmington,DE 19850


         Citi Cards
         P O Box 6500
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         Corporation Service Company
         P O Box 2576
         Springfield,IL 62708


         Cox Communications Kansas LLC
         401 N 117th Street
         Omaha,NE 68154


         CT Corporation System
         330 N Brand Blvd Ste 700
         Glenlade,CA 91203


         David Melcher Jr
         3827 SE Bryant
         Topeka,KS 66609




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         Department of Revenue
         915 Harrison
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         Discover Card
         P O Box 30421
         6DOW/DNH&LW\87


         Discover More Card
         P O Box 6103
         Carol Stream,IL 60197


         EBF Partners LLC dba Everest Business Fu
         5 West 37th Street 2nd Flr
         New York,NY 10018


         Forbes Industrial Park LLC
         ATTN John DeHardt Kessinger Hunter
         2600 Grand Ave 7th Flr
         Kansas City,MO 64108


         Forward Funding LLC dba Forward Financin
         100 Summer St Ste 1175
         Boston,MA 02110


         Funding Metrics LLC dba Lendini
         884 Town Center Drive
         /DQJKRUQH3$


         Green Capital Funding LLC
         30 Broad Street 14th Flr
         Ste 1462
         New York,NY 10004


         QuarterSpot Inc
         2751 Prosperity Ave Ste 330
         Fairfax,VA 22031




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         Retail Capital LLC dba Credibly
         4026 N Miller Road
         Ste B200
         Scottsdale,AZ 85251


         Sams Club MasterCard
         P O Box 960013
         Orlando,FL 32896


         Waste Management of Kansas Inc
         700 E Butterfield Road 4th Flr
         Lombard,IL 60148


         WebBank dba CAN Capital
         2015 Vaughn Road Bldg 500
         Kennesaw,GA 30144

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